     Case 2:11-cr-00107-SAB   ECF No. 1044    filed 08/09/12    PageID.3929 Page 1 of 1




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 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,                 )
 6                                               )    No. CR-11-107-WFN-14
                         Plaintiff,              )
 7                                               )    ORDER DENYING DEFENDANT’S
       v.                                        )    MOTION TO MODIFY
 8                                               )
       CALEB VADEN DORMAIER,                     )            MOTION DENIED
 9                                               )             (ECF No. 1035)
                         Defendant.              )
10                                               )

11    Date of bail review hearing: August 9, 2012.

12          The Motion is unopposed by the U. S. Probation Officer and

13    opposed by the United States.

14          IT IS ORDERED Defendant’s Motion to Modify (ECF No. 1035) is

15    DENIED.      However,     if   the     supervising       U.S.   Probation    Officer

16    concludes it is appropriate on occasion to temporary modify the

17    curfew for employment needs or family events occurring within the

18    district, the officer is given discretion to do so.                         However,

19    Defendant must remain under GPS home monitoring.

20          In   addition,     the   U.S.     Probation        Officer   is   directed    to

21    facilitate a search for funding to assist with GPS costs.

22          DATED August 9, 2012.

23
24                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT’S MOTION TO MODIFY - 1
